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                        EXHIBIT A
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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA

DEBORAH LAUFER,

           Plaintiff,

v.                                          Case No. 1:19-cv-305-AW-GRJ

TEMPLE HILL, INC., d/b/a
QUALITY INN,

          Defendant,
______________________/

                STATEMENT OF DEBORAH LAUFER
             MADE PURSUANT TO 28 U.S.C. SECTION 1746


      1.   My name is Deborah Laufer. I am currently a resident of Pasco

           County, Florida. I am unable to engage in the major life activity of

           walking more than a few steps without assistive devices. Instead, I am

           bound to ambulate in a wheelchair or with a cane or other support and

           have limited use of my hands. I am unable to tightly grasp, pinch or

           twist my wrist to operate mechanisms. I am also vision impaired.

           When ambulating beyond the comfort of my own home, I must

           primarily rely on a wheelchair. I require accessible handicap parking

           spaces located closet to the entrances of a facility. The handicap and

           access aisles must be of sufficient width so that I can embark and
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      disembark into a vehicle. Routes connecting the handicap spaces and

      all features, goods and services of a facility must be level, properly

      sloped, sufficiently wide and without cracks, holes or other hazards

      that can pose a danger of tipping, catching wheels or falling. These

      areas must be free of obstructions or unsecured carpeting that make

      passage either more difficult or impossible. Amenities must be

      sufficiently lowered so that I can reach them. I have difficulty

      operating door knobs, sink faucets, or other operating mechanisms

      that tight grasping, twisting of the wrist or pinching. I am hesitant to

      use sinks that have unwrapped pipes, as such pose a danger of

      scraping or burning my legs. Sinks must be at the proper height so that

      I can put my legs underneath to wash my hands. I require grab bars

      both behind and beside a commode so that I can safely transfer and I

      have difficulty reaching the flush control if it is on the wrong side. I

      have difficulty getting through doorways if they lack the proper

      clearance. To use a pool, I require a lift or other accessible means.

      When sleeping in a guest room, I need a compliant tub or shower with

      required grab bars.

 2.   When looking at a hotel online reservation system, I need information


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      so that I can ascertain whether or not the hotel and its guest rooms are

      accessible to me. This includes information whether the conditions

      referenced above are compliant.

 3.   I am an advocate on behalf of both myself and other similarly situated

      disabled persons and consider myself a tester. As a tester, I visit hotel

      online reservations systems to ascertain whether they are in

      compliance with the Americans With Disabilities Act. In the event

      that they are not, I request that a law suit be filed to bring the website

      into compliance with the ADA so that I and other disabled persons

      can use it. If a law suit is filed to bring the website into compliance, I

      frequently revisit the website to ascertain whether or not it has been

      made accessible with the information required by law. With respect to

      each law suit I file, I subsequently revisit each website because that is

      my system.

 5.   In the past, I have observed that the vast majority of hotel online

      reservations systems do not allow for booking of accessible rooms or

      provide the information I need to make an informed choice.

      Therefore, I cannot make plans to travel if I intend to stay in an

      accessible room at an accessible hotel. The failure of so many hotels


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      to comply with the law in this regard deter me from making travel

      plans.

 6.   Rooms for the Quality Inn, which is located at 15960 NW U.S. Hwy

      441, Alachua, Florida, and which I understand the Defendant owns or

      operates can be booked online through the Defendant’s own website,

      and through the third party booking sites identified in the complaint.

      The latter include hotels.com, expedia.com, and bookings.com.

 7.   Prior to the filing of this lawsuit, on no fewer than three occasions,

      specifically on September 14, 2019, September 15, 2019 and

      September 16, 2019, while in my own home in Pasco County, I visited

      the online reservation system for the Defendant’s hotel identified in

      paragraph eleven (11) of the complaint as well as the third party

      websites identified in paragraphs twelve (12) through fourteen (14) of

      the complaint for the purpose of reviewing and assessing the

      accessible features at the hotel and ascertain whether the websites

      contain the information required by 28 C.F.R. Section 36.302(e) and

      adequately informs me as to whether the hotel meets my accessibility

      needs. However, I was unable to do so because Defendant failed to

      comply with the requirements set forth in 28 C.F.R. Section 36.302(e).


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      As a result, I was deprived the same services available to the general

      public.

 8.   The Defendant’s own website had no reference to any accessible

      rooms nor was there any option to book an accessible room. No

      information was given as to whether or where it offers

      compliant/accessible roll-in showers, tubs, built in seating, commodes,

      grab bars, sinks, wrapped pipes, sink and door hardware, properly

      located amenities, sufficient maneuvering spaces, compliant doors,

      furniture, controls and operating mechanisms. The website did not

      contain any information as to whether all goods, facilities and services

      at the property are connected by a compliant accessible route, nor did

      the website contain any information as to the accessibility of routes

      connecting all the features of the hotel, the transaction counter,

      parking, and common area restrooms. The website did not give any

      information as to whether accessible rooms are on the ground floor or

      if an elevator is provided within an accessible route. Nor did the

      website give any information regarding the pool/pools having an

      accessible lift. The hotel claims to have an outdoor swimming pool,

      picnic area, vending machine, laundry facilities, free self-parking,


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       breakfast buffet, restaurants, but there was no information as to

       whether any or all of these hotel features are accessible.

 9     The third party booking sites had no option to book an accessible

       room. Hotel amenities, room types and amenities are all listed in

       detail. No information was given about accessibility in the hotel other

       than generic statements such as “Roll-in shower”, “Wheelchair

       accessible path of travel”, “Wheelchair accessible parking” and

       “Wheelchair accessible (may have limitations),” and “Facilities for

       disabled guests”.

 10.   When I encountered the above conditions, I suffered humiliation and

       frustration at being treated like a second class citizen, being denied

       equal access and benefits to the goods, facilities, accommodations and

       services. I am deterred from returning to the websites because I

       understand that it would be a futile gesture to do so unless I am

       willing to suffer further discrimination. I am aware that defendant

       segregates against me and other disabled persons by offering them one

       service: me a lesser service. I am aware that I am being deprived the

       equality of opportunity afforded to non-disabled persons to utilize the

       online reservation system free of discrimination. I am also aware that


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       my ability to travel free of discrimination and with equal access to

       information offered to the general public is diminished.

 11.   On or about February 20, 2020, after this lawsuit was filed, I revisited

       the websites. I was unable to reserve an accessible room and the same

       violations described above were again present.

 12.   Despite the above, I plan to again review the websites in the near

       future. I have a system for monitoring the hotel's I sued to ensure that

       I visit and revisit their online reservations systems multiple times,

       including after each lawsuit is filed and also after the hotel website is

       required to be compliant. In this regard, I maintain a list of every hotel

       I sued. Beside the entry of any given hotel, I then type in the date I

       look at its online reservations system. In all cases, I check out

       websites multiple times before I file a complaint. In the next column, I

       type in the date I revisit a hotel's online reservations system AFTER

       the complaint is filed. In this regard, I have revisited all the online

       reservations systems for all hotels I sued (excepting only the most

       recently filed) and ensure that I do so shortly after each lawsuit is

       filed. In the next column, I fill in the date when the hotel is required to

       fix its systems, so that I know when I am again to revisit them.


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             Pursuant to this system, I have already revisited the online

             reservations system for this hotel. In that way, when I said in my

             complaint that I intended to return in the near future, I was true to my

             word.

Pursuant to 28 U.S.C. Section 1746, I declare, certify, verify, and state, under

penalty of perjury that the foregoing is true and correct.

        5.21.20
Date: _________                         __________________________________
                                             DEBORAH LAUFER




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